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14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                SA CR No. 19-061-JVS
17
                 Plaintiff,                    [PROPOSED] ORDER CONTINUING TRIAL
18                                             DATE AND FINDINGS REGARDING
                       v.                      EXCLUDABLE TIME PERIODS PURSUANT
19                                             TO SPEEDY TRIAL ACT
      MICHAEL JOHN AVENATTI,
20                                             [PROPOSED] TRIAL DATE:
                 Defendant.                      December 8, 2020, at 8:30 a.m.
21

22

23         The Court has read and considered the Stipulation Regarding

24    Request for (1) Continuance of Trial Date and (2) Findings of

25    Excludable Time Periods Pursuant to Speedy Trial Act, filed by the

26    parties in this matter.      The Court has also considered Central

27    District of California General Orders 20-02, 20-03, 20-05, and 20-08,

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 1    which address the ongoing public-health concerns relating to the

 2    COVID-19 pandemic.

 3         The Court hereby finds that the Stipulation, as well as the

 4    applicable General Orders regarding COVID-19, which this Court

 5    incorporates by reference into this Order, demonstrates facts that

 6    support a continuance of the trial date in this matter, and provides

 7    good cause for a finding of excludable time pursuant to the Speedy

 8    Trial Act, 18 U.S.C. § 3161.

 9           The Court further finds that:       (i) the ends of justice served

10    by the continuance outweigh the best interest of the public and

11    defendant in a speedy trial; (ii) failure to grant the continuance

12    would be likely to make a continuation of the proceeding impossible,

13    or result in a miscarriage of justice; (iii) failure to grant the

14    continuance would unreasonably deny defendant continuity of counsel

15    and would deny defense counsel the reasonable time necessary for

16    effective preparation, taking into account the exercise of due

17    diligence; and (iv) failure to grant the continuance would likely put

18    counsel, the parties, witnesses, jurors, and Court personnel at

19    unnecessary risk.

20         THEREFORE, FOR GOOD CAUSE SHOWN:

21         1.    The trial in this matter is continued from August 18, 2020,

22    to December 8, 2020, at 8:30 a.m.

23         2.    The Court also sets the following dates and deadlines:

24    Expert Witness Disclosure Deadline                         August 31, 2020
25    Defendant’s Reciprocal Discovery Deadline                  August 31, 2020
26    Deadline to File Pretrial Motions (Motions to              September 14, 2020
      Compel, Motions to Suppress, and Motion In
27    Limine)
28

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 1    Deadline to File Oppositions to Pretrial                   September 28, 2020
      Motions
 2
      Deadline to File Reply Briefs in Support of                October 5, 2020
 3    Pretrial Motions
 4    Pretrial Motions Hearing                                   October 19, 2020
                                                                 at 9:00 a.m.
 5
      Government Witness List Disclosure Deadline                November 10, 2020
 6
      Deadline to Disclose Jencks Act Materials and              November 10, 2020
 7    Witness Statements
 8    Final Pretrial Conference                                  November 23, 2020
                                                                 at 9:00 a.m.
 9
      Government Exhibit Disclosure Deadline                     November 30, 2020
10

11
           3.    All other case deadlines set forth in the Court’s standing
12
      Order re: Criminal Trial shall remain in place.
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           4.    The Court further orders the parties to appear1 for interim
14
      status conferences on the following dates:
15
                 a.    July 6, 2020, at 9:00 a.m.
16
                 b.    August 3, 2020, at 9:00 a.m.
17
                 c.    September 7, 2020, at 9:00 a.m.
18
           5.    The time period of August 18, 2020, to December 8, 2020,
19
      inclusive, is excluded in computing the time within which the trial
20
      must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),
21
      and (B)(iv).
22
           6.    Defendant shall appear in Courtroom 10C of the Ronald
23
      Reagan Federal Building and U.S. Courthouse, 411 West Fourth Street,
24
      Santa Ana, California on December 8, 2020, at 8:30 a.m.
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28         1  All such appearances shall be telephonic unless and until
      otherwise instructed by the Court.
                                       3
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 1         7.     Nothing in this Order shall preclude a finding that other

 2    provisions of the Speedy Trial Act dictate that additional time

 3    periods are excluded from the period within which trial must

 4    commence.    Moreover, the same provisions and/or other provisions of

 5    the Speedy Trial Act may in the future authorize the exclusion of

 6    additional time periods from the period within which trial must

 7    commence.

 8         IT IS SO ORDERED.

 9

10
       DATE                                     HONORABLE JAMES V. SELNA
11                                              UNITED STATES DISTRICT JUDGE
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      Presented by:
13
           /s/ Julian L. André
14     JULIAN L. ANDRÉ
       BRETT A. SAGEL
15     Assistant United States Attorneys
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